    Case 3:14-cr-03537-BAS                       Document 910                 Filed 02/03/17          PageID.3673     Page 1 of 5

AO ~45B (CASDRev. 08113) Judgment in a Criminal Case for Revocations
                                                                                                                     FILED

                                         UNITED STATES DISTRICT COUR                                          CLERK, U.S. DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA                             SOU   RN DISTRICT OF CALIFORNIA
                                                                                                            BY                      DEPUTY
              UNITED STATES OF AMERICA                                         AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                               (For Revocation of Probation or Supervised Release)
                                                                               (For Offenses Committed On or After November I, 1987)
                                    V.
                   KEYON RENTA GILL (7)
                                                                                  Case Number:        14CR3537-BAS

                                                                               DAVID ZUGMAN
                                                                               Defendant's Attorney
REGISTRAnON NO.                     44283298
~   Modification of Supervision Conditions (18 U.S.c. § 3563(c) or 3583(e))

THE DEFENDANT:
~    admitted guilt to violation of allegation(s) No.                ONE (1)
                                                                   ~~~------------------------------------
D was found guilty in violation ofallegation(s) No.                                                         after denial of guilty.

Accordingly, the court has a4iudicated that the defendant is guilty of the following allegation(s):

Allegation Number                      Nature of Violation
                                       nv3, Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime
                                       Control Act)




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 5 ofthis judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notifY the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                               Januarv 30.2017
                                                                               Date oflmposition o~

                                                                                 -'n
                                                                               HO~                        ANT
                                                                               UNITED STATES DISTRICT JUDGE




                                                                                                                          14CR3537-BAS
     Case 3:14-cr-03537-BAS           Document 910          Filed 02/03/17       PageID.3674        Page 2 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:                KEYON RENTA GILL (7)                                                     Judgment - Page 2 of 5
CASE NUMBER:              14CR3537-BAS

                                                 IMPRISONMENT
 The defendant is hereby committed to the. custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 TlMESERVED




       Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o     The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district:
       o     at                            A.M.               on
                ------------------
             as notified by the United States Marshal.
                                                                   ------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       o     on or before
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                ------------------------- to ------------------------------
 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       14CR3537-BAS
               Case 3:14-cr-03537-BAS                  Document 910              Filed 02/03/17            PageID.3675             Page 3 of 5

       AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

       DEFENDANT:                    KEYON RENTA GILL (7)                                                                         Judgment - Page 3 of 5
       CASE NUMBER:                  14CR3537-BAS

                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIFTY (58) MONTHS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
o            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
             substance abuse. (Check, if applicable.)
1:81         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
1:81         The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
             Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
             The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § 1690 I, et
o            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
             resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o            The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
       any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
        I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
        2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)  the defendant shall support his or her dependents and meet other family responsibilities;
        5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted pennission to do so by the probation officer;
        10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
            observed in plain view ofthe probation officer;
        II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
            the court; and
        13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
            with such notification requirement.




                                                                                                                                      14CR3537-BAS
    Case 3:14-cr-03537-BAS         Document 910        Filed 02/03/17      PageID.3676        Page 4 of 5

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:            KEYON RENT A GILL (7)                                                  Judgment - Page 4of5
CASE NUMBER:          14CR3537-BAS

                               SPECIAL CONDITIONS OF SUPERVISION

   1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   2. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications
      or data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

   3. Not use or possess devices which can communicate data via modem or dedicated connection and may
      not have access to the Internet without prior approval from the court or the probation officer. The
      offender shall consent to the installation of systems that will enable the probation officer to monitor
      computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
      of installation of the computer software.

   4. Shall not knowingly associate with any known member, prospect, or associate of the Tycoons, or any
      other gang, or club with a history of criminal activity, unless given permission by the probation officer.

   5. Shall not knowingly loiter, or be present in locations known to be areas where gang members
      congregate, unless permission by the probation officer.

   6. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
      materials associated with a gang, unless given permission by the probation officer.

   7. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.

   8. Shall not knowingly associate with prostitutes or pimps andlor loiter in areas frequented by those
      engaged in prostitution.

   9. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   10. You shall submit to search of your person, property, residence, abode or vehicle, conducted by the
       probation officer, or any law enforcement officer, at any time of the day or night, with or without a
       warrant, and with or without reasonable or probable cause. Failure to submit to a search may be grounds
       for revocation; you shall warn any other residents that the premises may be subject to searches pursuant
       to this condition (4 th Amendment Waiver).


                                                                                                 14CR3537-BAS
    Case 3:14-cr-03537-BAS          Document 910        Filed 02/03/17     PageID.3677       Page 5 of 5

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case for Revocations

DEFENDANT:            KEYON RENTA GILL (7)                                                  Judgment - Page 50f5
CASE NUMBER:          14CR3537-BAS

   11. Pennitted to reside outside of the State of California.

   12. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
       directed by the probation officer. Allow for reciprocal release of infonnation between the probation
       officer and the treatment provider. May be required to contribute to the costs of services rendered in an
       amount to be detennined by the probation officer, based on ability to pay.




                                                                                                14CR3537-BAS
